Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 1 of 27 Page ID #557




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS

CRISTINA NICHOLE IGLESIAS                            )
also known as                                        )
CRISTIAN NOEL IGLESIAS,                              )         Case No. 19-cv-00415-JPG
#17248-018,                                          )
                                                     )
              Plaintiff,                             )
                                                     )
v.                                                   )
                                                     )
FEDERAL BUREAU OF PRISONS,                           )
MICHAEL CARVAJAL, CHRIS                              )
BINA, IAN CONNORS, L.J.W.                            )
HOLLINGSWORTH, J. DOE, ALIX                          )
MCLEAREN, THOMAS                                     )
SCARANTINO, AND DONALD                               )
LEWIS                                                )
                                                     )
              Defendants.

                      PLAINTIFF’S FIRST AMENDED COMPLAINT

       Plaintiff Cristina Nichole Iglesias for her First Amended Complaint, states as follows:

                                       INTRODUCTION

       1.      Plaintiff, Cristina Nichole Iglesias, a transgender woman in the custody of the

Federal Bureau of Prisons (“BOP”), is being denied medically necessary treatment for her gender

dysphoria, including gender confirmation surgery (“GCS”), permanent hair removal, and social

transition treatment, causing her ongoing and significant harm. BOP officials have known that Ms.

Iglesias is transgender since 1994, but have consistently denied her adequate treatment, housed her

in facilities for men, and refused her requests to be transferred to a women’s prison. By refusing

her proper medical treatment and refusing her requests for transfer to a women’s prison, BOP

officials have knowingly disrupted her medically necessary social transition treatment and have

discriminated against her because of her sex and transgender status. BOP has also denied her
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 2 of 27 Page ID #558




protection from the harm and grave risk of ongoing physical and sexual assaults that she faces

every day because she is a woman housed in a men’s prison.

       2.      Ms. Iglesias brings this action for declaratory and injunctive relief to require

Defendants to provide her the medical treatment they are obligated to provide her under the Eighth

Amendment, to house her in a women’s facility consistent with Defendants’ obligations to provide

her equal protection under the Fifth Amendment, and to protect her from the grave risk of serious

physical and sexual assaults she faces on an ongoing basis as required by the Eighth Amendment.

                                 JURISDICTION AND VENUE

       3.      This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and §

1343(a)(4), as this case arises under the laws and Constitution of the United States. Ms. Iglesias’s

claims against Defendants are for violations of her Eighth Amendment right to treatment for her

serious medical needs, her Eighth Amendment right to be protected from assault, and her Fifth

Amendment right to equal protection. Ms. Iglesias seeks only declaratory and injunctive relief.

       4.      Venue is proper in the Southern District of Illinois pursuant to 28 U.S.C. §

1391(b)(2) because the majority of events giving rise to this action occurred in this District and

because Defendants are subject to personal jurisdiction in this district.

                                             PARTIES

       5.      Plaintiff Cristina Nichole Iglesias is a 46-year-old woman who was assigned male

at birth. She is currently incarcerated and in the custody of the BOP at Federal Medical Center,

Lexington (“FMC-Lexington”), a men’s prison.

       6.      Defendant Federal Bureau of Prisons is the federal agency responsible for the

incarceration of adult prisoners sentenced by the federal courts. BOP operates FMC-Lexington

and United States Penitentiary-Marion (“USP-Marion”), where Ms. Iglesias was previously




                                                  2
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 3 of 27 Page ID #559




housed. BOP is also responsible for Ms. Iglesias’s medical treatment and for the decision to place

her in a male, rather than female, facility. Finally, BOP is responsible for protecting Ms. Iglesias

from physical harm and sexual abuse.

        7.      Defendant Michael Carvajal is the current Director of the BOP. As Director,

Defendant Carvajal is the highest-level official in the BOP, and is responsible for administering

and overseeing the operations of the BOP, including its policies and procedures, practices,

employees, contractors, and agents. On information and belief, Defendant Carvajal is the final

reviewer for treatment decisions made by the BOP Health Services, the BOP’s Medical Directors

and the BOP Transgender Executive Counsel. Defendant Carvajal is sued in his individual and

official capacities.1

        8.      Defendant Chris Bina is the Director of the BOP’s Health Services, and was

formally the Senior Deputy Assistant Director, Health Services Division of the BOP. As Director of

Health Services, Defendant Bina is responsible for overseeing the psychiatric care, healthcare

delivery, and medical designations for BOP prisoners. Defendant Bina serves as a member of the

BOP’s Transgender Executive Counsel (see ¶ 12 below) and is responsible for responding to Ms.

Iglesias’s requests for treatment for her gender dysphoria, including her request for GCS. He is

sued in his individual and official capacities.

        9.      Defendant Ian Connors is the National Inmate Appeals Administrator, Office of the

General Counsel for the BOP, and at all times relevant herein is responsible for reviewing and



1
  Seventh Circuit case law indicates that injunctive relief is available in cases brought pursuant to
Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), see
Robinson v. Sherrod, 631 F.3d 839, 842 (7th Cir. 2011) (stating that “prospective relief is available
in a Bivens suit”) (citing Glaus v. Anderson, 408 F.3d 381, 389 (7th Cir. 2005)), but that under
Bivens plaintiffs may sue relevant officials in their individual capacity only. Glaus, 408 F.3d at
389. Accordingly, Ms. Iglesias has named individual defendants in their individual capacities
pursuant to Bivens, as well as their official capacities pursuant to the Constitution.


                                                  3
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 4 of 27 Page ID #560




responding to Ms. Iglesias’s administrative appeals for medical care and transfer to a female

facility. He is sued in his individual and official capacities.

        10.     Defendant L.J.W. Hollingsworth is the Warden of USP-Marion and is employed by

the BOP. As Warden of USP-Marion, Defendant Hollingsworth promulgates rules, regulations,

policies and procedures for USP-Marion. Defendant Hollingsworth is responsible for supervising

all staff and managing operations at USP-Marion. She is sued in her individual and official

capacities.

        11.     Defendant J. Doe is the Medical Director of the BOP. Upon information and belief,

Defendant Doe is responsible for final approval for Ms. Iglesias’s medical requests. Defendant

Doe’s identity is as yet unknown to Ms. Iglesias. Defendant Doe is named in their individual and

official capacities.

        12.     Non-defendant BOP Transgender Executive Counsel (“TEC”) is the BOP entity

that reviews and makes decisions regarding treatment for transgender prisoners, including Ms.

Iglesias. The TEC is comprised of BOP management personnel who oversee the BOP’s clinical

treatment recommendations for transgender prisoners in BOP custody. The defendants named in

¶¶ 12a-12c are individuals, like Defendant Bina, who serve on the TEC and are responsible for

considering and approving Ms. Iglesias’s requests for evaluation for medical treatment, including

GCS.

                a.      Defendant Alix McLearen is the Administrator of the Female Offender

Branch, Reentry Services Division of the BOP. She is a PhD clinical psychologist. Defendant

McLearen serves as a member of the BOP’s TEC and is responsible for responding to Ms.

Iglesias’s requests for treatment for her gender dysphoria, including her requests for GCS. Upon




                                                   4
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 5 of 27 Page ID #561




information and belief, Defendant McLearen has no expertise in evaluating or treating the serious

medical needs of transgender patients. She is named in her individual and official capacities.

               b.       Defendant Thomas Scarantino is the Senior Deputy Assistant Director,

Correctional Programs Division of the BOP. Defendant Scarantino serves as a member of the

BOP’s TEC, and is responsible for responding to Ms. Iglesias’s requests for treatment for her

gender dysphoria, including her request for GCS. He is named in his individual and official

capacities.

               c.       Defendant Donald Lewis is a physician and the Chief of Psychiatry, Health

Services Division of the BOP. Defendant Lewis serves as a member of the BOP’s TEC, and is

responsible for responding to Ms. Iglesias’ requests for treatment for her gender dysphoria,

including her request for GCS. He is named in his individual and official capacities.

                                  FACTUAL ALLEGATIONS

  I.   Gender Identity and Gender Dysphoria

       13.     “Gender Identity” is a well-established medical concept, referring to a person’s

deeply felt, internal sense of their own gender, e.g., being a man, woman, or non-binary.

       14.     All human beings develop and possess a gender identity. It is a core part of identity

that cannot be altered by external factors.

       15.     Typically, people who are designated female at birth based on their external

anatomy identify as girls or women, and people who are designated male at birth identify as boys

or men. Individuals with a gender identity congruent with the sex they were assigned at birth are

cisgender. A cisgender man, for example, is a man who was assigned male at birth and who has a

male gender identity.




                                                 5
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 6 of 27 Page ID #562




       16.     Transgender individuals have a gender identity that differs from the sex assigned

to them at birth. A transgender woman is a woman who was assigned male at birth but who, like

a cisgender woman, has a female gender identity. A transgender man is a man who was assigned

female at birth but who, like a cisgender man, has a male gender identity.

       17.     “Gender dysphoria” is the medical diagnosis for the incongruence between one’s

gender identity and one’s sex assigned at birth and the clinically significant distress resulting from

this incongruence. “Gender identity disorder” is the diagnostic label used in the past for this

condition which was abandoned to acknowledge that neither a transgender person’s identity nor

gender incongruence are “disordered.”

       18.     Gender dysphoria is a serious medical condition codified in the Diagnostic and

Statistical Manual of Mental Disorders, 5th Edition (“DSM-5”) and International Classification of

Diseases-10 (“ICD-10”).

       19.     If untreated or inadequately treated, gender dysphoria can lead to serious harms.

These harms include clinically significant psychological distress, impairment of basic life

activities, and debilitating depression. Untreated gender dysphoria is also associated with higher

risks of unemployment, homelessness, victimization, and criminality. For some individuals, not

receiving treatment results in self-harm, suicidal ideation, suicide, and death.

       20.     The accepted standards of care for treating gender dysphoria are published by the

World Professional Association for Transgender Health (“WPATH”). WPATH is the leading

international organization focused on transgender healthcare with a membership of physicians,

psychiatrists, psychologists, social workers, surgeons, and other health professionals who

specialize in the diagnosis and treatment of gender dysphoria.




                                                  6
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 7 of 27 Page ID #563




         21.    The WPATH publishes the Standards of Care for the Health of Transsexual,

Transgender, and Gender Nonconforming People (“WPATH Standards of Care”). 2 The current

version of the Standards of Care—Version 7—was released in September 2011 following a five-

year process in which 18 gender dysphoria specialists submitted peer-reviewed papers to help

identify the most effective treatments for gender dysphoria. The WPATH Standards of Care are

the prevailing standards of care used by mental health providers and medical professionals treating

gender dysphoria.

         22.    The goals of medical treatments for gender dysphoria are (1) to alleviate clinically

significant distress and impairment of functioning associated with gender dysphoria, and (2) to

maximize overall psychological well-being.

         23.    The WPATH Standards of Care apply equally to incarcerated persons and expressly

state:

         Health care for transsexual, transgender, and gender-nonconforming people living
         in an institutional environment should mirror that which would be available to them
         if they were living in a non-institutional setting within the same community. . . . All
         elements of assessment and treatment as described in the [Standards of Care] can
         be provided to people living in institutions. Access to these medically necessary
         treatments should not be denied on the basis of institutionalization or housing
         arrangements. If the in-house expertise of health professionals in the direct or
         indirect employ of the institution does not exist to assess and/or treat people with
         gender dysphoria, it is appropriate to obtain outside consultation from professionals
         who are knowledgeable about this specialized are of health care.

WPATH Standards of Care at 67-68.

         24.    There is broad agreement among leading medical and mental-health professional

associations and organizations—including the American Medical Association, the American



2
 Eli Coleman et al., Standards of Care for the Health of Transsexual, Transgender, and Gender-
Nonconforming People, Version 7, 13 Int’l J. of Transgenderism 165 (2011),
https://wpath.org/media/cms/Documents/SOC%20v7/Standards%20of%20Care_V7%20Full%20
Book_English.pdf (visited Aug. 13, 2020).


                                                   7
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 8 of 27 Page ID #564




Psychological Association, the American Psychiatric Association, the American Academy of

Family Physicians, the American Congress of Obstetricians and Gynecologists, the Endocrine

Society, the National Association of Social Workers, and the World Professional Association for

Transgender Health—that gender dysphoria is a serious medical condition and that treatment for

gender dysphoria is medically necessary.

           25.     The National Commission on Correctional Health Care (“NCCHC”) recommends

    that the medical management of prisoners with gender dysphoria “should follow accepted

    standards developed by professionals with expertise in transgender health,” citing the WPATH

    Standards of Care.3

           26.     The WPATH Standards of Care are designed to help individuals live in accordance

    with their gender identity, eliminating the clinically significant distress associated with an

    incongruence between a person’s gender identity and sex assigned at birth. Treatment protocols

    include social transition (dressing, grooming, and living in accordance with one’s gender identity

    in all areas of life), legal transition, hormone therapy, and GCS. The particular course of medical

    treatment varies based on the individualized needs of the person.

    II.    Ms. Iglesias’s History of Gender Dysphoria

           27.     From a very young age, Ms. Iglesias has understood that she was a girl even though

    her body did not match who she knew herself to be. Ms. Iglesias expressed herself in what she

    understood to be a feminine manner.

           28.     At the age of 12, Ms. Iglesias even told her mother that she wanted to have GCS in

    order to live as a girl.



3
  NCCHC Policy Statement, Transgender Health Care in Correctional Settings (October 18, 2009;
reaffirmed with revision April 2015), http://www.ncchc.org/transgender-health-care-in-
correctional-settings (visited Aug. 15, 2020) (footnote omitted).


                                                    8
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 9 of 27 Page ID #565




        29.   During childhood, Ms. Iglesias expressed herself in what she understood to be a

feminine manner. As a result, Ms. Iglesias experienced physical and emotional abuse at the hands

of her father who did not understand why she behaved femininely and identified as a girl.

        30.   After withdrawing from school in tenth grade, Ms. Iglesias began to socially

transition, living her life as a woman. She wore her hair in stereotypically feminine styles, wore

stereotypically feminine clothing, and took birth control as a method to develop breasts.

        31.   Ms. Iglesias entered BOP custody in 1994. Soon thereafter, in or around 1994, she

was diagnosed with gender identity disorder by a Dr. Brian Gray, a BOP psychologist who treated

her. In 2015, Dr. Lewis, BOP’s Chief Psychologist, changed Ms. Iglesias’s diagnosis from gender

identity disorder to gender dysphoria to reflect the updated diagnosis in the DSM-V, published in

2013.

        32.   As a result of the BOP’s medically insufficient treatment of her gender dysphoria,

described further below, Ms. Iglesias has engaged in numerous acts of self-harm. This includes a

2009 attempt to castrate herself. Ms. Iglesias has experienced suicidal thoughts repeatedly

because of the lack of effective treatment for her gender dysphoria. As a result, she has been

placed on suicide watch several times by BOP staff.

        33.   Ms. Iglesias first requested hormone therapy from BOP medical staff in 2011, but

was denied treatment. Four years later, in 2015, medical staff finally approved her to begin

hormone therapy. She has experienced a number of changes in her secondary sex characteristics

as a result of the hormone therapy, such as developing breasts.

        34.   Ms. Iglesias has done everything she can to live fully and authentically as a woman

while in prison. She wears a bra and women’s underwear and uses make up and female grooming

items when they are available to her. However, she continues to be placed in a men’s prison and




                                               9
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 10 of 27 Page ID #566




some prison staff continue to refer to her by male pronouns. Misgendering and otherwise

challenging and rejecting Ms. Iglesias’s female gender by keeping her in a men’s prison is

devastating for her.

       35.    Despite receiving hormone therapy and her efforts to socially transition while

housed in a men’s prison, Ms. Iglesias continues to suffer from severe gender dysphoria, which

has caused her extreme mental and physical anguish. She experiences severe depression, anxiety,

and suicidal ideation as a result of the inadequacies in the treatment she is receiving. Ms. Iglesias

has informed BOP medical staff that denying her the treatment she needs has caused her to

experience suicidal ideation, anxiety, depression, and to engage in dangerous acts of self-

treatment.

       36.    Ms. Iglesias’s distress caused by being denied GCS (as discussed further below) is

extreme and unremitting. To Ms. Iglesias, her genitalia feel like an abnormal and life-threatening

growth on her body, like a malignant tumor from cancer that needs to be removed. She feels dirty

and disgusted with seeing and touching genitals that are incongruent with her female gender

identity.

       37.    Having stereotypically male facial hair further compounds Ms. Iglesias’s distress

but BOP has denied Ms. Iglesias’s requests for permanent hair removal. Furthermore, even if

shaving were an appropriate alternative, Ms. Iglesias is currently not permitted to shave every

day. As a result, she has to endure being called a “bearded woman” by prison staff and other

prisoners. This, and her placement in male facilities further increases the devastating impact of

BOP’s refusal to provide her GCS.




                                                10
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 11 of 27 Page ID #567




       38.    Notwithstanding her ongoing and extreme distress and psychological harm due to

the deficiencies in her treatment, BOP continues to deny Ms. Iglesias transfer to a women’s

facility, permanent hair removal and GCS.

III.   Defendants’ Denials of Ms. Iglesias’s Request for Gender Dysphoria Treatment

       A. Gender Confirmation Surgery

       39.    Since 2016, Ms. Iglesias has made numerous formal and informal requests to be

evaluated and approved for GCS to alleviate her extreme and unrelenting distress. While housed

at USP-Marion, Ms. Iglesias has made requests to BOP staff members, including to Dr. Randall

Pass, Clinical Director at USP-Marion, the clinical team at USP-Marion, and Defendant

Hollingsworth.

       40.    Dr. Pass confirmed Ms. Iglesias met the WPATH criteria for GCS and should

receive it.

       41.    Ms. Iglesias has also pursued administrative appeals to have her request for GCS

approved.

       42.    On January 6, 2018, Ms. Iglesias appealed Defendant Hollingsworth’s and the

Regional Director’s denials of her request for GCS to the Central Office Administrative Remedies

Division. (Ex. 1, January 6, 2018 Remedy Appeal No. 920251-A1). In her appeal, Ms. Iglesias

explained that delaying GCS has caused her emotional and psychological distress, depression,

anxiety, stress, and thoughts of self-mutilation.

       43.     On March 2, 2018, Defendant Connors issued his response acknowledging that

BOP’s Transgender Clinical Care Team (“TCCT”), which is overseen by the TEC, had received

Ms. Iglesias’s parent institution’s request for her to receive GCS and deferring to the TCCT to

make a decision. (Ex. 2, March 2, 2018 Remedy Response No. 920251-A1).




                                                11
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 12 of 27 Page ID #568




      44.     In November 2019, Iglesias was transferred from USP-Marion to FMC-Lexington

for what she believed to be her final evaluation for approval for GCS.

      45.     On December 3, 2019, Ms. Iglesias filed an appeal to the Central Office

Administrative Remedies Division requesting to receive GCS and all treatments necessary to

prepare Ms. Iglesias for GCS, as called for by the WPATH Standards of Care.

      46.     On December 18, 2019, Ms. Iglesias had a consultation with Tammy C. Thomas, a

Nurse Practitioner with the Endocrinology Department at University of Kentucky HealthCare.

The consultation was arranged by BOP to evaluate Ms. Iglesias for GCS. After her evaluation,

Ms. Thomas told Ms. Iglesias that she met the WPATH criteria for GCS, and would recommend

surgery. However, Ms. Thomas also informed Ms. Iglesias that there were no surgeons in the

State of Kentucky with any expertise or experience in performing GCS.

      47.     On March 13, 2020, in response to Ms. Iglesias’s December 3, 2019 Remedy

Appeal, Defendant Connors, who is not a medical doctor or psychologist, issued the BOP’s

response determining that Ms. Iglesias does not qualify for GCS for two reasons: (1) she does not

meet the qualifications to be transferred to a female facility; and (2) her hormone levels “have not

been maximized or stabilized.” (Ex. 3, March 13, 2020 Remedy Response No. 991304-A1).

      B. Transfer to a Women’s Prison

      48.     Defendants BOP, Connors, Hollingsworth, Doe, Bina, McLearen, Scarantino, and

Lewis have also denied Ms. Iglesias’s requests to transfer to a women’s prison.

      49.     Transferring Ms. Iglesias to a women’s prison would also allow Ms. Iglesias to

live in accordance with her gender identity by permitting her to further socially transition (e.g.,

dressing, grooming, and living in accordance with her gender identity in all areas of life), which

is medically necessary treatment for gender dysphoria as set forth in the WPATH Standards of




                                                12
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 13 of 27 Page ID #569




Care. (WPATH Standards of Care at 9, 68, 106). This treatment for Ms. Iglesias is severely

impaired while she remains in a men’s facility.

      50.      There is no legitimate penological purpose for BOP to refuse to house Ms. Iglesias

at a women’s facility.

      51.     In pursuit of this necessary treatment, Ms. Iglesias has made repeated requests

and appeals for transfer to a women’s prison. To date, all of these requests have been denied by

Defendants.

      52.     For example, on November 21, 2016 Ms. Iglesias requested a transfer to a women’s

facility by sending a request to Loretta Lynch, the United States Attorney General at that time.

Her request was forwarded to the warden at the Federal Correctional Complex in Butner, North

Carolina. Ms. Iglesias received a response on December 21, 2016, stating that her request was

“under review as part of an ongoing process.” (Ex. 4, December 21, 2016 Response).

      53.     On May 31, 2017, Ms. Iglesias appealed the Regional Director’s decision denying

her request to be transferred to a women’s facility to the Central Office Administrative Remedies

Division. In her appeal, Ms. Iglesias explained that she is “transitioning to a female with the end

result of having gender affirming surgery. Part of my treatment is to live ‘real time experience’

as a female and gender consolidation meaning female. I request this transfer to a female prison so

that I can continue my treatment, the next phase, as well [as it will] be safer for me.” (Ex. 5, May

31, 2017 Remedy Appeal No. 897368 at 1).

      54.     On July 6, 2017, Defendant Connors responded, acknowledging Ms. Iglesias’s

request as “repetitive” of earlier appeals for transfer to a women’s prison but denied her appeal.

(Ex. 6, July 6, 2017 Remedy Response at 1).




                                                13
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 14 of 27 Page ID #570




       55.        Defendant’s Connors denied Ms. Iglesias’s renewed appeals for transfer as recently

as March 13, 2020. In response to Ms. Iglesias’s appeal for GCS, Defendant Connor’s recognized

that “[g]ender-affirming surgery is considered after real life experience in your preferred gender.”

(Ex. 3, March 13, 2020 Remedy Response No. 991304 at 1). Despite recognizing the need for

Ms. Iglesias to socially transition in order for her to receive GCS, Defendant Connors stated that

Ms. Iglesias had been “reviewed for transfer to a female facility” but that “it was determined that

[her] current designated facility is appropriate.” (Id.).

       56.        On the same day as Defendant Connor’s March 24, 2020 denial, Ms. Iglesias filed

another request, this time to the Warden at FMC-Lexington, to be transferred to a women’s

facility in order to have “real time living experience” as a woman to treat her gender dysphoria.

As she explained, “I have been on hormone therapy for 5 years with a diagnosis of Gender

Dysphoria, my hormone levels for well over 4 years have been consistent with female levels. . . .

[I]n order for me to complete my existence as a woman, I have to complete the ‘real time living

as the gender desired, female.’ … I have severe gender dysphoria because without [GCS] I see

no normal life and it is torturous to live life daily without GCS.” (Ex. 7, March 24, 2020 Request

to Staff at 1).

       57.        Defendant BOP, Defendants Bina, McLearen, Scarantino, and Lewis, as members

of the TEC, and Defendant Doe, as Medical Director of the BOP, in addition to Defendant

Connors, have reviewed Ms. Iglesias’s requests to transfer to a women’s prison as part of the

necessary treatment for her severe gender dysphoria. Defendants know of Ms. Iglesias’s medical

condition and that she is transgender, but Defendants have failed to authorize Ms. Iglesias’s

transfer to a women’s prison.




                                                  14
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 15 of 27 Page ID #571




      C. Hair Removal

      58.     Defendants BOP, Connors, Hollingsworth, Doe, Bina, McLearen, Scarantino, and

Lewis have also failed to provide Ms. Iglesias medically necessary treatment for permanent hair

removal treatment even though Ms. Iglesias’s body and facial hair has and continues to cause her

extreme anxiety and distress, which she has been unable to relieve by shaving.

      59.     Defendant Hollingsworth and BOP’s Regional Director denied Ms. Iglesias’s

requests for hair removal, so she appealed on March 7, 2018. On April 6, 2018, Defendant

Connors denied her appeal on the grounds that Ms. Iglesias did not report major emotional or

environmental problems during her last encounter with Psychological Services and that her

clinical provider had not indicated the need for hair removal as part of her treatment for gender

dysphoria.

      60.      Repeatedly denying Ms. Iglesias social transition, permanent hair removal and

surgery have caused her extreme and longstanding emotional and psychological distress,

depression, anxiety, stress, and thoughts of self-mutilation.

      61.     Despite Ms. Iglesias’s diagnosis of gender dysphoria, her repeated requests for

GCS, transfer to a women’s prison, and hair removal, Dr. Pass’s recommendation for GCS, and

a recommendation for GCS from Nurse Practitioner Thomas at the Endocrinology Department of

UK HealthCare, Defendants have refused to provide her with the medically necessary care she

requires. Defendants BOP, Connors, Hollingsworth, Doe, Bina, McLearen, Scarantino, and Lewis

are aware of her serious and untreated gender dysphoria and her need for medical treatment in the

form of GCS, transfer to a women’s prison, and permanent hair removal to address her depression,

anxiety, and suicidality because of Ms. Iglesias’s persistent requests for GCS, as well as the

recommendations from BOP and UK HealthCare professionals that she be evaluated for surgery.




                                                15
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 16 of 27 Page ID #572




IV.         The BOP’s Discriminatory Changes to Its Transgender Offender Manual

            62.   Since January 2017, the Federal Bureau of Prisons has followed Program Statement

    No. 5200.04,4 the “Transgender Offender Manual” (“TOM”). The TOM’s purpose is “[t]o ensure

    the Bureau of Prisons (“BOP”) properly identifies, tracks, and provides services to the transgender

    population.” Id. at § 1.

            63.   The TOM created the TEC “to offer advice and guidance on unique measures

    related to treatment and management needs of transgender prisoners and/or prisoners with [gender

    dysphoria], including designation issues.” Id. § 3(a)(5). It provided that the council would

    “recommend housing by gender identity when appropriate.” Id.

            64.   The TOM referenced the implementing regulations of the Prison Rape Elimination

    Act of 2003, 28 C.F.R pt. 115 (“PREA regulations”).

            65.   On May 11, 2018, the BOP approved Change Notice No. 5200.04 CN-15 (“Change

    Notice”).

            66.   The purported purpose of the Change Notice “is to ensure that the TEC considers

    issues related to prison management and security in determining appropriate housing of

    transgender inmates, including risks posed to staff, other inmates, and members of the public,”

    and to “establish appropriate expectations for the inmate population concerning designations.” Id.

    at 1.

            67.   The Change Notice removed the sentence that read: “The TEC will recommend

    housing by gender identity when appropriate” and added that although “[i]n deciding the facility

    assignment for a transgender or intersex inmate, the TEC should make the following assessments




4
    https://www.bop.gov/policy/progstat/5200.04.pdf.
5
    https://www.bop.gov/policy/progstat/5200-04-cn-1.pdf.


                                                   16
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 17 of 27 Page ID #573




    on a case-by-case basis,” nevertheless “[t]he TEC will use biological sex as the initial

    determination for designation.” It also added that “[t]he designation to a facility of the inmate’s

    identified gender would be appropriate only in rare cases after consideration of all of the above

    factors and where there has been significant progress towards transition as demonstrated by

    medical and mental health history.” Id. at 3.

          68.       The Change Notice fails to define “biological sex” or explain how the TEC

    determines a person’s “biological sex.” However, because it distinguishes “biological sex” from

    “gender identity,” “biological sex” apparently refers to someone’s sex assigned at birth. See

    generally id.

          69.       The Change Notice also fails to explain why the designation of transgender person

    to a facility consistent with that person’s gender identity “would be appropriate only in rare cases”

    and only “where there has been significant progress towards transition.” See id. at 4.

          70.       On information and belief, Ms. Iglesias states that since the change notice

    Defendants have assigned transgender prisoners to facilities solely based on their sex assigned at

    birth and have failed to transfer any transgender prisoners to facilities that accord with their

    gender identity, rather than their sex assigned at birth.

    V.    BOP Knows that Placing Transgender Prisoners, Such As Ms. Iglesias, in Prisons
          Based On Their Sex Assigned At Birth Puts Them At a Substantial Risk of Harm

          71.        According to the National PREA Resource Center:6 “Being transgender is a

    known risk factor for being sexually victimized in confinement settings.” See National PREA


6
  The National PREA Resource Center (PRC) is a project of the U.S. Department of Justice
Bureau of Justice Assistance. The PRC’s aim is to provide assistance to those responsible for state
and local adult prisons and jails, juvenile facilities, community corrections, lockups, tribal
organizations, and prisoners and their families in their efforts to eliminate sexual abuse in
confinement. See National PREA Resource Center, at https://www.prearesourcecenter.org/about.



                                                     17
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 18 of 27 Page ID #574




    Resource Center, at https:/www.prearesourcecenter.org/node/3927.

          72.      Additionally, the U.S. Department of Justice’s Bureau of Justice Statistics

    reported in 2014 that almost 40% of transgender prisoners reported sexual victimization in state

    and federal prisons—a rate that is ten times higher than for prisoners in general. U.S. Dep’t of

    Justice, Bureau of Justice Statistics, Sexual Victimization in Prisons and Jails Reported by

    Inmates, 2011-12, Supplemental Tables: Prevalence of Sexual Victimization Among

    Transgender Adult Inmates, Dec. 2014.7

          73.      Under the PREA regulations, BOP officials are required to make an

    individualized determination of appropriate housing when it comes to housing assignments for

    transgender prisoners. The regulation states:

          In deciding whether to assign a transgender or intersex inmate to a facility for male
          or female inmates, and in making other housing and programming assignments, the
          agency shall consider on a case-by-case basis whether a placement would ensure
          the inmate’s health and safety and whether the placement would present
          management or security problems.

    28 C.F.R. § 115.42(c).

          74.      PREA regulations also require BOP officials to give serious consideration to an

    prisoner’s own subjective views of his or her own safety. See Section 115.42(d) (“A transgender

    or intersex inmate’s own views with respect to his or her own safety shall be given serious

    consideration.”).

          75.      PREA’s requirements and its focus on protecting the health and safety of

    transgender prisoners, as well as numerous widely circulated studies regarding the high risk of

    sexual abuse faced by transgender women in federal prisons and jails, have placed all Defendants

    on notice of the serious risks that Ms. Iglesias faces by being held in male facilities and by


7
    https//www.bjs.gov/content/pub/pdf/svpjri1112_st.pdf.


                                                    18
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 19 of 27 Page ID #575




Defendants’ refusal to transfer Ms. Iglesias to a women’s facility.

          76.     BOP purports to comply with PREA regulations, but it has clearly not done so

with respect to Ms. Iglesias.

          77.     BOP’s treatment of Ms. Iglesias not only runs counter to PREA regulations, but

it is also counter to generally professional accepted standards in the medical and mental health

fields.

          78.     The American Medical Association (AMA) has issued a policy statement

supporting prison housing policies that allow transgender prisoners to be placed in

correctional facilities that reflect their affirmed gender status.

          79.     As AMA Immediate Past Chair Patrice A. Harris, M.D. stated, “[t]he problem

facing the safety and health of transgender prisoners is severe and well-documented.…

Transgender prisoners are disproportionately the victims of sexual assault, suffering higher rates

of sexual assault than general population inmates.” See American Medical Association, AMA

Urges Appropriate Placement of Transgender Prisoners (June 11, 2018), at https://www.ama-

assn.org/press-center/press-releases/ama-urges-appropriate-placement-transgender-prisoners.

          80.     Further, the WPATH Standards of Care provide that:

          Housing and shower/bathroom facilities for transsexual, transgender, and gender
          nonconforming people living in institutions should take into account their gender
          identity and role, physical status, dignity, and personal safety. Placement in a
          single-sex housing unit, ward, or pod on the sole basis of the appearance of the
          external genitalia may not be appropriate and may place the individual at risk for
          victimization.

          Institutions where transsexual, transgender, and gender nonconforming people
          reside and receive health care should monitor for a tolerant and positive climate to
          ensure that residents are not under attack by staff or other residents.

WPATH Standards of Care at 67.




                                                  19
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 20 of 27 Page ID #576




VI.   Defendants Know Ms. Iglesias Has Suffered Abuse, and Faces a Substantial Risk of
      Additional Abuse, Because She Is Denied Housing In a Women’s Prison

      81.       Since entering BOP custody in 1994, Ms. Iglesias has been exclusively housed in

male prisons.

      82.       While in BOP custody Ms. Iglesias has been subjected to extensive sexual abuse,

physical abuse, and harassment by BOP staff and other prisoners. Most recently, she was abused

and harassed while in BOP custody at FMC-Lexington.

      83.       Ms. Iglesias has made numerous requests to BOP staff to be transferred to a

women’s facility in order to avoid further harm. (See ¶¶ 48 to 57 above.)

      84.       Ms. Iglesias reported numerous instances of sexual abuse, including rape, physical

abuse, and/or harassment in 2001, 2013, 2015, 2016, 2017, 2019, and 2020. (See Ex. 8, June 16,

2017 BOP Psych. Services Report at 1; Ex. 9, November 22, 2019 BOP Health Services Report

at 3-4; Ex.10, February 25, 2020 Client Medical Record at 9). Ms. Iglesias requested to be placed

in protective custody. While some of these requests were granted, being placed in protective

custody did not prevent her from being harmed by other prisoners or prison staff.

      85.       During Ms. Iglesias’s time in BOP custody, other prisoners have frequently

exposed themselves to her, groped her, and demeaned her in other ways, including by asking to

see her breasts.

      86.       Ms. Iglesias has suffered numerous sexual assaults in BOP custody because of her

transgender status. In November 2019, Ms. Iglesias was raped by another prisoner. (See 9,

November 22, 2019 BOP Health Services Clinical Encounter at 3-4).

      87.       In January 2020, Ms. Iglesias was held hostage by her cell mate. This male prisoner

objected to being housed with a transgender woman and would not release her until prison staff

used force to get him to release Ms. Iglesias.



                                                 20
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 21 of 27 Page ID #577




       88.    Also in January 2020, when Ms. Iglesias refused to allow a male prisoner to

prostitute her, he placed a “hit” on her, offering to pay $500 to another prisoner for the opportunity

to hurt Ms. Iglesias. BOP staff at FMC-Lexington entered a separation order between this prisoner

and Ms. Iglesias, but Ms. Iglesias continues to be at serious risk due to his presence in the same

facility.

       89.    In addition to BOP’s failure to keep Ms. Iglesias safe, BOP staff at FMC-Lexington

have threatened to lock Ms. Iglesias in a cell with a convicted sex offender if she does not refrain

from making complaints about her safety and need for medical treatment.

       90.      Ms. Iglesias lives in constant fear of further physical or sexual violence as a

result of being a transgender woman in a male prison. Ms. Iglesias should not have to await the

next act of violence to be placed in a women’s facility.

       91.      Transferring Ms. Iglesias to women’s facility would reduce the serious risk of

physical and sexual violence she faces every day that she is in a men’s prison.

       92.      There is no legitimate penological purpose for BOP to refuse to house Ms. Iglesias

at a women’s facility. Defendants BOP, Carvajal, Bina, Doe, Hollingsworth, Connors, McLearen,

Scarantino, and Lewis are aware that Ms. Iglesias has been severely harmed and continues to be

at risk of physical and sexual violence as a result of being housed in a male prison. Defendants are

further aware that transferring Ms. Iglesias to a women’s prison would significantly reduce the

risk of further physical and sexual violence. Yet Defendants have and continue to deny her requests

for transfer to a women’s prison.

       93.    As a result of BOP’s inaction, Ms. Iglesias has suffered and will continue to suffer

irreparable harm, including severe and ongoing distress and psychological harm and the known




                                                 21
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 22 of 27 Page ID #578




and substantial risk of sexual and physical abuse and harassment by other prisoners and

correctional staff.

                                      CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF

                        Failure to Provide Medically Necessary Treatment
                              in Violation of the Eighth Amendment

      Against BOP, Defendant Carvajal, Defendant Bina, Defendant Connors, Defendant
 Hollingsworth, Defendant Doe, Defendant McLearen, Defendant Scarantino, Defendant Lewis

       94.       Ms. Iglesias repeats and re-alleges the allegations in paragraphs 1 - 93 as if fully

set forth herein.

       95.       Defendants, including BOP, Bina, Doe, McLearen, Scarantino, Lewis are

responsible for providing adequate and necessary medical treatment for Ms. Iglesias’s gender

dysphoria.

       96.       As members of the TEC, Defendants Bina, McLearen, Scarantino, and Lewis are

responsible for providing advice and guidance to the BOP regarding transgender prisoners’

treatment, housing, and management needs.

       97.       Defendants are aware that Ms. Iglesias is a transgender woman who has been

diagnosed with gender dysphoria, a serious medical condition. Defendants are all aware the Ms.

Iglesias has not received the medically necessary GCS, permanent hair removal, and social

transition treatment. The denial of these necessary treatments has caused her serious physical and

mental injury.

       98.       Defendants’ denial of necessary medical treatment to Ms. Iglesias constitutes

deliberate indifference to a serious medical need in violation of the Eighth Amendment.




                                                  22
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 23 of 27 Page ID #579




       99.     Under Defendants’ “biological-sex” based housing policy all transgender prisoners

are placed in men’s or women’s prisons based on their sex assigned at birth, which BOP Policy

identifies as “biological sex.” (See BOP Transgender Offender Policy Section 5 and Section 7).

       100.    To the extent that Defendants denied Ms. Iglesias placement in a women’s prison

due to this policy, it did so in violation of the Eighth Amendment.

                                SECOND CLAIM FOR RELIEF

                      Denial of Placement in Female Facility in Violation of
                          Fifth Amendment Right to Equal Protection

      Against BOP, Defendant Carvajal, Defendant Bina, Defendant Connors, Defendant
 Hollingsworth, Defendant Doe, Defendant McLearen, Defendant Scarantino, Defendant Lewis

       101.    Ms. Iglesias repeats and re-alleges the allegations in all proceeding paragraphs as

if fully set forth herein.

       102.    Under the Fifth Amendment’s guarantee of equal protection, discrimination on the

basis of sex is unconstitutional and subject to heightened scrutiny.

       103.    Defendants have and continue to discriminate against Ms. Iglesias by implementing

and enforcing a “biological-sex” based housing policy for all transgender prisoners by which

Defendants determined Ms. Iglesias’s transfer requests based on her sex assigned at birth, which

BOP Policy identifies as “biological sex.” (See BOP Transgender Offender Policy Section 5 and

Section 7).

       104.    Defendants have denied Ms. Iglesias’s requests for transfer to a women’s facility

based on this policy.

       105.    Defendants’ housing of Ms. Iglesias based on her “biological” sex, and not her

gender identity, discriminates against her on the basis of her sex and transgender status.

       106.    Ms. Iglesias is similarly situated to cisgender women in BOP custody except for

the fact Ms. Iglesias is transgender.


                                               23
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 24 of 27 Page ID #580




      107.    Defendants’ discriminatory treatment of Ms. Iglesias on the basis of sex and her

transgender status deprives Ms. Iglesias of her right to equal protection of the laws guaranteed by

the Fifth Amendment to the United States Constitution.

      108.    Defendants’ discrimination against Ms. Iglesias because of sex and/or gender

identity is not substantially related to any important governmental interest. Defendants’

discrimination against Ms. Iglesias on the basis of her sex and transgender status is also not

reasonably related to any legitimate penological interests.

      109.    Defendants’ discriminatory placement of Ms. Iglesias in male facilities in violation

of her Fifth Amendment right to equal protection causes her extreme and irreparable harm.

                                THIRD CLAIM FOR RELIEF

                  Failure to Protect in Violation of the Eighth Amendment

      Against BOP, Defendant Carvajal, Defendant Bina, Defendant Connors, Defendant
 Hollingsworth, Defendant Doe, Defendant McLearen, Defendant Scarantino, Defendant Lewis

      110.    Ms. Iglesias repeats and re-alleges the preceding paragraphs as if fully set forth

herein.

      111.    The Eighth Amendment requires Defendants to protect Ms. Iglesias from known

and substantial risks of serious harm while in BOP custody.

      112.    Defendants have been and continue to be deliberately indifferent to the known and

substantial risk of serious harm Ms. Iglesias faces from both prison staff and other incarcerated

persons as a transgender woman in a men’s prison.

      113.    Defendants are aware that other prisoners wish to harm Ms. Iglesias due to her

status as a transgender woman in men’s prisons. Nevertheless, they continue to disregard the

substantial risk that Ms. Iglesias will be harmed by other incarcerated persons by failing to take




                                               24
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 25 of 27 Page ID #581




any measures to meaningfully reduce that risk, in violation of Ms. Iglesias’s Eighth Amendment

rights.

          114.   Defendants’ failure to protect Ms. Iglesias from known and substantial risks of

serious harm from prison staff and other incarcerated persons as a transgender woman in a men’s

prison constitutes deliberate indifference in violation of the Eighth Amendment.

                                       PRAYER FOR RELIEF

                 WHEREFORE, Ms. Iglesias requests entry of judgment in her favor and against

Defendants as follows:

          For injunctive and declaratory relief, including:

          a.     Enjoining Defendants to have Ms. Iglesias evaluated by medical personnel

                 qualified to treat her condition;

          b.      Enjoining Defendants to provide Ms. Iglesias with the medically necessary health

                 care she needs, including (1) permanent hair removal, and (2) gender confirmation

                 surgery;

          c.     Enjoining Defendants to house Ms. Iglesias at an institution consistent with her

                 gender identity;

          d.     Enjoining Defendants to protect Ms. Iglesias from the known and serious risks of

                 harm she continues to face while housed in a men’s prison;

          e.     For an award from Defendants of her attorneys’ fees, litigation expenses, and costs

                 incurred in connection with this action;

          f.     For such further relief as the Court may deem just, proper, and appropriate.




                                                     25
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 26 of 27 Page ID #582




 Dated: September 8, 2020                        Respectfully submitted,

                                                 /s/ John A. Knight
 Angela M. Povolish                              John A. Knight
 FEIRICH MAGER GREEN RYAN                        ROGER BALDWIN FOUNDATION OF
 2001 West Main Street                           ACLU, INC.
 P.O. Box 1570                                   150 N. Michigan, Suite 600
 Carbondale, IL 62903                            Chicago, IL 60601
 (618) 529-3000                                  (312) 201-9740, 335
 apovolish@fmgr.com                              jknight@aclu-il.org

 Taylor Brown (pro hac vice forthcoming)         Attorneys for Plaintiff
 AMERICAN CIVIL LIBERTIES UNION                  Cristina Noel Iglesias
 125 Broad Street
 New York, NY 10004
 (212) 519-7887
 tbrown@aclu.org

 Katherine D. Hundt (pro hac vice forthcoming)
 Courtney Block (pro hac vice forthcoming)
 WINSTON & STRAWN LLP
 35 W. Wacker Drive
 Chicago, IL 60601-9703
 (312) 558-5600
 khundt@winston.com
 cblock@winston.com




                                           26
Case 3:19-cv-00415-NJR Document 52 Filed 09/08/20 Page 27 of 27 Page ID #583




                                CERTIFICATE OF SERVICE

       I certify that on September 8, 2020, I electronically filed the foregoing document with the

Clerk of this Court by using the CM/ECF system, which will accomplish service through the

Notice of Electronic Filing for parties and attorneys who are Filing Users.



                                             /s/ John A. Knight
                                             John A. Knight




                                                27
